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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION
IN RE:                                              CASE: A17-51802-SMS

BOBBIE JEAN IRVIN                                                     CHAPTER 13


Debtor

               CHAPTER 13 TRUSTEE'S NOTICE OF COMPLETED PLAN
                      (11 U.S.C. § 522(q)(1) MAY NOT APPLY)
   COMES NOW, Mary Ida Townson, Standing Chapter 13 Trustee, in the above-styled action
and files this Notice of Completed Plan, and respectfully shows the Court the following:


   The Chapter 13 Trustee has verified that each Debtor in this case has completed payments to
creditors pursuant to the terms of the confirmed plan.


   1. Each Debtor shall complete and file with the Court the attached Debtor's 11 U.S.C. §
1328 Certificate concerning domestic support obligations and previous discharges.


   2. Each Debtor must file a certificate of completion of an approved instructional course
concerning personal financial management.


   Each Debtor has 45 days from the date of this notice to file the required documents. If
each Debtor fails to file all of the documents, the Court may close the case without a
discharge.


   The Trustee does not believe that 11 U.S.C. § 522 (q)(1) applies in this case.


   The Chapter 13 Trustee respectfully requests that this Court review this case to determine if each
Debtor is eligible for discharge and whether all requirements of 11 U.S.C. § 1328 have been met, and
if appropriate, enter an Order of Discharge.




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      The Chapter 13 Trustee's Final Report and Account will be submitted as soon as all payments
made to creditors on behalf of Debtor in this case have been negotiated and no outstanding
disbursements remain. This case will remain open, pending receipt of the Chapter 13 Trustee's Final
Report and Account and an Order discharging the Trustee is entered.


Dated: May 20, 2020


                                                  Respectfully submitted,


                                                  _/s/___________________________
                                                  Mary Ida Townson, Attorney
                                                  Standing Chapter 13 Trustee
                                                  GA Bar No. 715063
                                                  285 Peachtree Center Ave, Suite 1600
                                                  Atlanta, GA 30303-1229
                                                  (404) 525-1110
                                                  maryidat@atlch13tt.com




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                                 CERTIFICATE OF SERVICE

    This is to certify that on this day I caused a copy of the foregoing pleading to be served via United
States First Class Mail, with adequate postage thereon, on the following parties at the address shown
for each:
BOBBIE JEAN IRVIN
310 BATTLECREEK VILLAGE DRIVE
JONESBORO, GA 30236

I further certify that I have on this day electronically filed the pleading using the Bankruptcy Court's
Electronic Filing program, which sends a notice of this document and an accompanying link to this
document to the following parties who have appeared in this case under the Bankruptcy Court's
Electronic Case Filing program:

SLIPAKOFF & SLOMKA, PC

Dated: May 20, 2020


                                                  Respectfully submitted,


                                                  _/s/___________________________
                                                  Mary Ida Townson, Attorney
                                                  Standing Chapter 13 Trustee
                                                  GA Bar No. 715063
                                                  285 Peachtree Center Ave, Suite 1600
                                                  Atlanta, GA 30303-1229
                                                  (404) 525-1110
                                                  maryidat@atlch13tt.com




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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION
IN RE:                                                CASE: A17-51802-SMS
BOBBIE JEAN IRVIN
                                                                      CHAPTER 13

Debtor
                          DEBTOR'S 11 U.S.C. §1328 CERTIFICATE
This Certificate must be completed and filed with the court in order for each debtor to receive a
discharge. In joint cases, a separate Certificate must be completed and signed by each debtor. This
Certificate should be filed after the debtor has completed all payments (as required by the Plan or as
specified by the Court).

I declare under penalty of perjury that the information provided in this Certificate is true and correct .

A. Appropriate Box Must Be Checked:

q 1. During the time this bankruptcy case has been pending, I have not been required to pay a domestic
support obligation (such as child support, maintenance or alimony) by any order of a court or administrative
agency or by any statute.

q 2. During the time this bankruptcy case has been pending, I have paid all domestic support obligations
(such as child support, maintenance or alimony) as required under any order of a court or administrative agency
or under any statute.

q 3. During the time this bankruptcy case has been pending, I have not paid all domestic support obligations
(such as child support, maintenance or alimony) as required by an order of a court or administrative agency or
by statute.

If you were obligated to pay a domestic support obligation, please complete the information below . If
not, skip to paragraph B.
        The name and address of each holder of a domestic support obligation are:

         Name:      ______________________               My Current Address:

         Address:   _________________________________    _________________________________________

            _________________________________________    _________________________________________

            _________________________________________    _________________________________________

            _________________________________________    _________________________________________
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My Current Employer is:

       Name:       _________________________

       Address: _________________________

       __________________________________

       __________________________________

B. Appropriate Box Must Be Checked:

q 1. I have NOT received a discharge in a Chapter 7, 11, or 12 bankruptcy case filed within
   4-years prior to filing this case.
q 2. I have received a discharge in a Chapter 7, 11, or 12 bankruptcy case filed within 4-
   years prior to filing this case.

C. Appropriate Box Must Be Checked:

q 1. I have NOT received a discharge in a Chapter 13 bankruptcy case filed within 2-years
  prior to filing this case.
q 2. I have received a discharge in a Chapter 13 bankruptcy case filed within 2-years prior to
  filing this case.

By signing this Certificate, I acknowledge that all of the statements contained herein are
true and accurate and that the Court may rely on the truth of each of these statements in
determining whether to grant me a discharge in this case. The Court may revoke my
discharge if my statements are not accurate.


Date: __________________                      /s/________________________________
                                              DEBTOR
